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AO 9| (Rev. 01."09) Criminal Complaint

UNITED STATES DISTRICT CoURT

for the
District ofNew Mexico

 

 

United States of America )
v. )
) CaseNo: l<B' PO'S|Q?
Jasvir sINGH §
)
Dejéndanr(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief. On or about
the date of August 22, 2018 in the county of Dona Ana in the State and District of New Mexico, the defendant violated

§ U.S.C. §13251'¢111 l )(EWI Misd_emeanor}, an offense described as follows:

entered and attempted to enter the United States at a time and place other than as designated by Immigration Officers

This criminal complaint is based on these facts:
On August 22, 2013, a United States Border Patrol Agent encountered the Defendant in Dona Ana County, New Mexico.
When questioned as to his citizenship the Defendant admitted to being a citizen of lndia without authorization to enter or
remain in the United States. The Defencfant knowingly entered the United States illegally on August 22, 2018, by crossing
the U.S./Mexico Intemational Boundary afoot, approximately eight miles east of the Santa 'I`eresa, New Mexico Port of
Entry. This area is not a Port of Entry as designated by the Appropriate Authority of the United States. Thus, the
Defendant is present in the United States without admission by an lmmigration Officer.

|:| Continued on the attached sheet.

 

\`l Comp[ai'nan!’s signature

an Romero l Agent

 

Primed name and title

Sworn to before me and signed in my presence

 

Date: August 25, 2018

 

 

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GF\EG Y J. FOURA'IT
City and state: Las Cruces, N.M.

 

Prr'n!ed name and title

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UNITED STATES DISTRICTl CoURT

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District ofNew Mexi co

 

United States of America )
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, CRIMINAL COMPLAINT

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the U.S./Mexico Intemational B_ou:ndary afoot, approximately eight miles east of the Sa.nta Teresa, New Mexico`Port of
Entry. This area is not a Port of Entry as designated by the Appropriate Authority of the United States. Thus, the
Defendant is present in the United States without admission by an Immigration Oflicer.

ij Continued on the attached sheet.

 

Campl'at'nant'.r signature

Ju.an Romero_ rath

 

 

y Printed name and title
Swom to before me and signed in my presence
Datc: August 25, 2018 M
v V.}udge's.rignamre

City and state: Las Cruces, N.M.

 

 

Printed name and title

